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13
14                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
15                                  OAKLAND DIVISION
16    GENTEX CORPORATION and INDIGO
      TECHNOLOGIES, LLC,
17
                           Plaintiffs,                 Case No. 4:22-cv-03892-YGR
18
      THALES VISIONIX, INC.,                           PLAINTIFFS’ ADMINISTRATIVE
19                                                     MOTION TO SEAL PORTIONS OF AND
                           Involuntary Plaintiff,      EXHIBIT TO REPLY IN SUPPORT OF
20                                                     JOINT MOTION TO DISMISS
             v.
21
      META PLATFORMS, INC. and META                   Judge:         Hon. Yvonne Gonzalez Rogers
22    PLATFORMS TECHNOLOGIES, LLC,
23                         Defendants.
24
25          Pursuant to Civil Local Rules 7-11 and 79-5(d) and (e), plaintiffs Gentex Corporation
26   (“Gentex”) and Indigo Technologies, LLC (“Indigo”) (collectively, “Plaintiffs”) hereby move for an
27   order sealing certain portions of and Exhibit D to the Reply in Support of the Motion to Dismiss
28
      PLAINTIFFS’ MOTION TO SEAL RE:                                   CASE NO. 4:22-CV-03892-YGR
      REPLY ISO MOTION TO DISMISS
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 1   (“Reply”) filed by Plaintiffs and defendants Meta Platforms, Inc. and Meta Platforms Technologies,
 2   LLC (collectively, “Meta”).
 3            When considering a motion to seal, the Court must “conscientiously balance the competing
 4   interests of the public and the party who seeks to keep certain judicial records secret.” Ctr. For Auto
 5   Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1097 (9th Cir. 2016) (cleaned up). Where, as here, the
 6   motion is only tangentially related to the merits of the case, a “particularized showing” under the good
 7   cause standard of Rule 26(c) suffices to grant a motion to seal. See id. at 1099; Kamakana v. City &
 8   Cnty. of Honolulu, 447 F.3d 1172, 1179-80 (9th Cir. 2006); Exeltis USA Inc. v. First Databank, Inc.,
 9   2020 WL 2838812, at *1 (N.D. Cal. June 1, 2020).1 Courts routinely conclude that “‘confidential
10   business information’ in the form of ‘license agreements, financial terms, details of confidential
11   licensing negotiations, and business strategies’” satisfy the good cause or compelling reasons standard
12   for sealing. Exeltis, 2020 WL 2838812, at *1; In re Qualcomm Litig., 2017 WL 5176922, at *2 (S.D.
13   Cal. Nov. 8, 2017).
14            Portions of the Reply reference Exhibits A and B to Plaintiffs’ and Meta’s Joint Motion to
15   Dismiss (“Motion”), Dkt. No. 137-3. Exhibit A to the Motion is a copy of the settlement agreement
16   (the “Agreement”) signed between Plaintiffs and Meta on January 9, 2024. Dkt. No. 137-4. Exhibit
17   B to the Motion is a copy of the term sheet (the “Term Sheet”) signed between Plaintiffs, Meta, and
18   Involuntary Plaintiff Thales Visionix, Inc. (“Thales”) on December 21, 2023. Dkt. No. 137-5.
19   Plaintiffs previously moved to maintain Exhibits A and B under seal. Dkt. No. 137. Meta and Thales
20   filed declarations agreeing that these exhibits also reflect their confidential business information. Dkt.
21   No. 140; Dkt. No. 145-1.
22            As explained in Plaintiffs’ prior motion to seal, the Agreement and Term Sheet reflect sensitive
23   business information of Plaintiffs. Dkt. No. 137 at 2–3. Portions of the Reply2 quote from and/or
24
     1
25    Even if the court were to apply a “compelling reasons” standard, see Kamakana, 447 F.3d 1172 at
     1180, the parties have shown that there are compelling reasons to seal the Agreement and Term Sheet.
26
     2
      These portions include: page 2, lines 24-27; page 3, lines 5-6; page 5, line 27; page 6, lines 19-24;
27   page 7, lines 1-5, 12-13; page 7, lines 25-27; page 8, lines 6-7, 26-28; page 9, lines 6-7, 10, 14, 26-27;
     page 10, line 6; and page 11, lines 19-21.
28
         PLAINTIFFS’ MOTION TO SEAL RE:                  2                  CASE NO. 4:22-CV-03892-YGR
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1    discuss the confidential terms of the Agreement and the Term Sheet, and therefore similarly reflect
2    Plaintiffs’ sensitive business information. Harber Decl. ¶ 3. Exhibit D to the Reply also discusses the
3    confidential terms of the Term Sheet, as do the portions of the Reply3 that cite to or quote from Exhibit
4    D. Harber Decl. ¶ 4. Exhibit D and the portions of the Reply that refer to it also reflect Plaintiffs’
5    sensitive business information. Id. Other portions of the Reply4 discuss the details of confidential
6    licensing negotiations between Plaintiffs, Thales, and Meta. Harber Decl. ¶ 5. These portions of the
7    Reply are highlighted in yellow.
8              Each is a source of information that may harm the parties’ “competitive standing” if disclosed
9    publicly. FTC v. Microsoft Corp., 2023 WL 5186252, at *1 (N.D. Cal. Aug. 11, 2023). Further, the
10   Agreement and Term Sheet, and the details about their negotiations, have no bearing on the “merits”
11   of the case. The parties have provided this information solely to explain that they have resolved all of
12   the claims at issue. Given that this confidential business information that does not bear on the merits
13   of any claim in this action, the good cause for sealing outweighs the public’s interest in access to
14   judicial records. See id.
15             Accordingly, Plaintiffs respectfully request that the Court seal the portions of the Reply
16   highlighted in yellow, and Exhibit D to the Reply.
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     Dated: February 7, 2024                           Respectfully submitted,
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26   3
         These portions include: page 2, line 3; page 7, line 21; page 10, line 22; and page 12, lines 27-28.
27   4
      These portions include: page 7, lines 12-14; page 8, lines 27-28; page 11, lines 1-18, 22-25; page
     12, lines 1-6, 12-13; and page 13, line 11.
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         PLAINTIFFS’ MOTION TO SEAL RE:                   3                  CASE NO. 4:22-CV-03892-YGR
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     PLAINTIFFS’ MOTION TO SEAL RE:       4                 CASE NO. 4:22-CV-03892-YGR
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